        Case 3:21-cv-08378-JD Document 145-2 Filed 01/10/22 Page 1 of 3



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                                   UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION

17    DONALD J. TRUMP, the Forty-Fifth President   Case No: 3-21-cv-08378-JD
      of the United States, et al.
18                                                 DECLARATION OF ANDREI D.
                             Plaintiffs,           POPOVICI IN SUPPORT OF
19           v.                                    PLAINTIFFS’ OPPOSITION TO
     TWITTER, INC., et al.,                        MOTION TO DISMISS
20
21                           Defendants.           Hearing Date: February 24, 2022
                                                   Courtroom: 11, 19th Floor
22                                                 Time: 10:00 a.m.
                                                   Judge: Hon. James Donato
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      POPOVICI DECLARATION ISO PLAINTIFFS’
      OPPOSITION TO MOTION TO DISMISS                               Case No. 3:21-cv-08378-JD
       Case 3:21-cv-08378-JD Document 145-2 Filed 01/10/22 Page 2 of 3



 1                            DECLARATION OF ANDREI D. POPOVICI
 2          I, Andrei D. Popovici, declare as follows:
 3          1.      I am an attorney admitted to practice before this Court and licensed to practice law
 4   in California. I am counsel for the Plaintiffs in this action. I make this Declaration in support of
 5   Plaintiff’s Opposition to Motion to Dismiss and Motion for Preliminary Injunction.
 6          2.      Exhibit A is a true and correct copy of excerpts from Dorsey Response Questions
 7   for the Record prepared for the November 17, 2020 Congressional hearing Breaking the News:
 8   Censorship, Suppression, and the 2020 Election: Hearing before S. Comm. on the Judiciary,
 9   116th Cong. (2020) (testimony of Jack Dorsey), downloaded from
10   https://www.judiciary.senate.gov/imo/media/doc/Dorsey%20Response%20QFRs.pdf.
11          3.      Exhibit B is a true and correct copy of the Opening Statement as Prepared for
12   Delivery of Committee Chairman Frank Pallone, Jr. at the March 25, 2021 Congressional hearing
13   Disinformation Nation: Social Media’s Role in Promoting Extremism and Misinformation”:
14   Hearing before H. Comm. on Energy and Com., 117th Cong. (2021), downloaded from
15   https://energycommerce.house.gov/sites/democrats.energycommerce.house.gov/files/documents/
16   Opening%20Statement_Pallone_CAT-CPC_2021.3.25_0.pdf.
17          4.      Exhibit C is a true and correct copy of the Opening Statement as Prepared for
18   Delivery of Communications and Technology Subcommittee Chairman Mike Doyle at the March
19   25, 2021 Congressional hearing Disinformation Nation: Social Media’s Role in Promoting
20   Extremism and Misinformation”: Hearing before H. Comm. on Energy and Com., 117th Cong.
21   (2021), downloaded from
22   https://energycommerce.house.gov/sites/democrats.energycommerce.house.gov/files/documents/
23   Opening%20Statement_Doyle_CAT-CPC_2021.3.25.pdf.
24          5.      Exhibit D is a true and correct copy of the Opening Statement as Prepared for
25   Delivery of Consumer Protection and Commerce Subcommittee Chair Janice D. Schakowsky at
26   the March 25, 2021 Congressional hearing Disinformation Nation: Social Media’s Role in
27   Promoting Extremism and Misinformation”: Hearing before H. Comm. on Energy and Com.,
28   117th Cong. (2021), downloaded from
     POPOVICI DECLARATION ISO                                              Civ. No: 3:21-cv-08378-JD
     PLAINTIFFS’ OPPOSITION TO MOTION
     TO DISMISS                                    1
       Case 3:21-cv-08378-JD Document 145-2 Filed 01/10/22 Page 3 of 3



 1   https://energycommerce.house.gov/sites/democrats.energycommerce.house.gov/files/documents/
 2   Opening%20Statement_Schakowsky_CAT-CPC_2021.3.25_0.pdf.
 3          6.     Exhibit E is a true and correct copy a Memorandum from Committee on Energy
 4   and Commerce Staff, dated March 22, 2021, prepared for the March 25, 2021 Congressional
 5   hearing Disinformation Nation: Social Media’s Role in Promoting Extremism and
 6   Misinformation”: Hearing before H. Comm. on Energy and Com., 117th Cong. (Mar. 22, 2021)
 7   (Memo From Comm. Staff), downloaded from
 8   https://docs.house.gov/meetings/IF/IF16/20210325/111407/HHRG-117-IF16-20210325-
 9   SD002.pdf.
10          7.     Exhibit F is a true and correct copy of Twitter, Inc. Form 10-K dated 2/17/2021,
11   filed for the year ended 12/31/2020, downloaded from
12   https://www.sec.gov/Archives/edgar/data/0001418091/000141809121000031/twtr-
13   20201231.htm.
14          I under penalty of perjury that the foregoing is true and correct. This declaration was
15   executed on January 9, 2022, in Dripping Springs, Texas.
16                               By:     /s/ Andrei D. Popovici
17                                       Andrei D. Popovici

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     POPOVICI DECLARATION ISO                                           Civ. No: 3:21-cv-08378-JD
     PLAINTIFFS’ OPPOSITION TO MOTION
     TO DISMISS                                  2
